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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MONTANA
                        MISSOULA DIVISION


TANYA GERSH,

                             Plaintiff,
                                            Case No. 9:17-cv-00050-DLC-KLD
                    v.
                                            PLAINTIFF’S NOTICE OF
ANDREW ANGLIN,                              SUBMITTAL

                             Defendant.
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             Plaintiff Tanya Gersh provides notice to the Court that Plaintiff’s

Motion to Hold Defendant Andrew Anglin in Contempt of This Court’s February

9, 2021 Order and to Enforce Discovery Pursuant to that Order (“the “Motion”) is

ripe for decision, as set forth below. (Dkts. 235, 236.)

             On February 9, 2021, the Court entered an order compelling Anglin to

respond to Plaintiff’s post-judgment discovery requests no later than April 1, 2021.

(Dkt. 232.) The Court further ordered that Anglin would have until April 1, 2021

within which to be heard and show cause why he should not be required to pay the

reasonable expenses, including attorneys’ fees, Ms. Gersh incurred in making her

motion to compel. (Id.)

             The undisputed evidence shows Defendant failed to comply with the

Court’s February 9 Order compelling him, by April 1, 2021, to respond to

Plaintiff’s discovery requests and to show cause why he should not be required to

pay the attorneys’ fees awarded to Ms. Gersh in connection with the motion to

compel or to object to the $8,232 in attorneys’ fees set forth in the fee affidavit

submitted by Ms. Gersh’s counsel. (See Dkts. 235, 236.) Accordingly, on April

21, 2021, Ms. Gersh filed a motion seeking an order: (i) finding Anglin in

contempt for failing to comply with the Court’s February 9 Order; (ii) giving him

thirty (30) days to purge himself of contempt by complying with the February 9

Order; and (iii) directing that, if Anglin fails to purge himself of the contempt



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within the time period specified, a bench warrant be issued for his arrest and

incarceration until such time as he purges himself of contempt by complying with

the February 9 Order. (Dkt. 235.) In support of the Motion, Plaintiff filed a brief

with exhibits. (Dkt. 236.)

             Defendant’s response to the Motion was due May 5, 2021. Local

Rule 7.1(d)(1)(B)(ii). Defendant did not file a request for an extension of the time

to file a response nor has Defendant filed a response. The Defendant’s “failure to

file a response brief may be deemed an admission that the motion is well-taken.”

Id. Because the time for response has closed without a response being filed, the

Motion is unchallenged and ripe for ruling. Local Rule 7.1(d)(1)(D).

             Because Defendant has not filed a response to Plaintiff’s Motion,

Plaintiff has no reason to file a reply brief. Accordingly, Plaintiff provides notice

to this Court that Plaintiff’s Motion to Hold Defendant Andrew Anglin in

Contempt of This Court’s February 9, 2021 Order and to Enforce Discovery

Pursuant to that Order is ripe for decision.

             Respectfully submitted this 7th day of May, 2021.




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DATED: May 7, 2021

                                  PAUL, WEISS, RIFKIND,
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                          CERTIFICATE OF SERVICE
             I hereby certify that on this date the foregoing document was filed

with the clerk of the court for the United States District Court for the District of

Montana through the Court’s CM/ECF filing system, and by virtue of this filing

notice will be sent electronically to all counsel of record. I further certify that on

this date the foregoing document was served upon Defendant Andrew Anglin via

Fed-Ex at all his known mailing addresses.

DATED:       May 7, 2021
                                        /s/Daniel J. Kramer
                                        Attorney for Plaintiff Tanya Gersh
                                        on behalf of all Attorneys for Plaintiff
